Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 1 of 10

AO 91 (Rev. 02/09) Criminal Complaint

United States District Cour Y

for the >
Western District of New York

  

United States of America

Vv.

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~—,

JOHN CRANDALL
Defendant

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Between on or about July 24, 2011 and continuing until on or about August 4, 2011, in the Western District of New

York, the defendant violated Title 18, United States Code, Section 2422(b), an offense described as follows:

attempting to use interstate facilities to persuade, induce, entice and coerce an individual who has not attained the
age of 18 to engage in in sexual activity for which any person can be charged with a criminal offense.

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet. Mol -. KK

Complainant's SYenature

Michael K. Hockwater, Task Force Officer, FBI

Printed name and title

Sworn to before me and signed in my presence.

‘ ee
Date: August “/ , 2011 7. 7 4
, (/- ee '§ signature

JEREMIAH J. MCCARTHY
City and State: _ Buffalo, New York United States Magistrate Judge

Printed name and title
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 2 of 10

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

I, Michael Hockwater, being duly sworn, deposes and says:

1. I am a Detective with the Cheektowaga Police Department
and I am a Task Force Officer with the Federal Bureau of
Investigation (FBI). I am currently assigned to the Buffalo Field
Office Innocent Images National Initiative which targets
individuals involved in the on-line sexual exploitation of
children. As part of these duties, I have become involved in the
investigation of suspected violations of Title 18, United States

Code, Sections 2251, 2252, 2252A, 2422, and 2423.

2. I make this affidavit in support of a criminal complaint
charging JOHN CRANDALL with violating Title 18, United States Code,
Section 2422(b). The statements contained in this affidavit are
based on my involvement in this investigation, as well as
information provided to me by other law enforcement officers
involved in this investigation, information provided to me by
witnesses, and upon my training and experience. Because this

affidavit is being submitted for the limited purpose of seeking a
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 3 of 10

criminal complaint, I have not included each and every fact known
to me concerning this investigation.

3. Title 18, United States Code, Section 2422(b) makes ita
federal crime to use the mail or any facility or means of
interstate or foreign commerce, or within the special maritime and
territorial jurisdiction of the United States to knowingly
persuade, induce, entice or coerce any individual who has not
attained the age of 18 years, to engage in prostitution or any
sexual activity for which any person can be charged with a criminal

offense, or to attempt to commit these acts.

4. Adam4adam.com is a social networking/dating website that
provides users with e-mail and instant messaging/chat services, and
allows users to communicate via the Internet with other Internet
users. Yahoo.com is also a website that, among other functions,
provides users with e-mail and instant messaging/chat services, and
allows users to communicate via the Internet with other Internet
users. The chat program provided by Yahoo.com is referred to as

“Yahoo instant messenger,” or “YIM.”

5. Between on or about July 24, 2011, and August 4, 2011,
using an undercover identity, law enforcement officers have

corresponded with JOHN CRANDALL through YIM, and other websites.
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 4 of 10

Through these chats, CRANDALL has discussed his sexual interest in

children.

6. CRANDALL uses screen-name "skyflyinboy" on A4A and the
screen name "flyboijohn" on YIM. I know that CRANDALL is the
individual associated with these screen-names, because his profile
picture on A4a corresponds with a photo of JOHN CRANDALL obtained
Erom the New York DMV. On a past occasion, using an undercover
identity, I corresponded with CRANDALL as "skyflyinboy" on A4A, and
then continued the correspondence with him on YIM as "flyboijohn, ”
at his request. In addition, based on information obtained from
the Internet, I know that JOHN CRANDALL resides in the Buffalo, New
York area, and that he is a flight attendant. This is consistent

with his screen-name and profile information on A4A.

7. On August 3, 2011, using an undercover identity, I
engaged in a chat with CRANDALL over YIM wherein I stated that I
was in contact with a 14 year old minor. During the chat, CRANDALL
discussed engaging in sexual activity with the minor, and then

wrote, “bring him here tonight.” See Exhibit 1.

8. CRANDALL went on to ask for a physical description of the
minor, saying, “dude, I will do anythign for his ass,” and “I want

to fuck him with you man.” See Exhibit 1.
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 5 of 10

9. CRANDALL then engaged in a discussion about who would have

sex with the minor first. See Exhibit 1.

10. On August 3, 2011, I exchanged text messages with
CRANDALL, using the telephone of a cooperating witness who is an
acquaintance of CRANDALL. During the texts, CRANDALL asked for a
photo of the minor, and asked, “Think he’s game got getting
fucked?” Finally, he directed me to call him on the morning of
August 4, 2011, and that he would give me his address and

directions to his house.

11. On August 4, 2011, upon a request from CRANDALL for a
photo of the minor, a cooperating witness (whose identity
corresponds with the undercover online identification I used to
communicate with CRANDALL online), being aided by law enforcement
officers, sent a photo of a fictitious minor to CRANDALL via text
messaging. Immediately after receiving the photo, CRANDALL replied

via text, “So how soon can u be here? I don’t have a ton of time”.

12. A law enforcement officer then directed the cooperating
witness to place a consensual telephone call to CRANDALL. I
listened to the call. During the call, CRANDALL provided his home
address, and asked, “so he knows that we’re both going to fuck

him?”
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 6 of 10

13. The home address given by CRANDALL corresponds with

utilities registered in the name of JOHN CRANDALL.

14. Further calls were placed from the cooperating witness to
CRANDALL at the direction of law enforcement, during which CRANDALL
continued to express his desire to engage in sexual activity with
a minor, and asked whether the minor is able to sneak out of his
parents house later in the evening. CRANDALL made plans to
communicate with the cooperating witness later in the evening to

solidify plans to meet with the minor after 9:00 P.M.

15. Based on the above information, there is probable cause
to believe that JOHN CRANDALL knowingly used facilities of
interstate commerce to attempt to persuade, induce, entice and
coerce an individual who had not attained the age of 18 to engage
in sexual activity for which any person can be charged with a
criminal offense, in violation of Title 18, United States Code,

Section 2422(b).

16. It is further respectfully requested that this Court

issue an Order sealing, until further order of this Court, all -
Case 1:11-mj-01084-JJM Document 1 Filed 08/04/11 Page 7 of 10

papers submitted in support of this Complaint, including the

qd f. a

MICHAEL HOCKWATER
Task Force Officer
Federal Bureau of Investigation

Affidavit, and Exhibit 1.

Sworn to before me this
day of August, 2011

 

 

HON. JEREMIAH J. MCCARTHY
United State Magistrate Judge
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 8 of 10

Exhibit 1
Case 1:11-mj-01084-JJM Document1 Filed 08/04/11 Page 9 of 10

uc 1616 chat log.txt ;

under coverid (8/3/2011 11:31:19 AM): i had to work late... sucked... your tied up
a ay
flyboijohn (8/3/2011 11:31:17 am): most of the day. do you work today?
undercoverid (8/3/2011 11:32:14 AM): yeah but tomorrow im open..
Flyboijohn (8/3/2011 11:32:46 Am): I'm only free before noon tomorrow
flyboijohn (8/3/2011 11:32:53 AM): then I'11 be gone for 20 days
undercoverid (8/3/2011 11:33:32 AM): too bad.. i think 7 got a new bttm!!
flyboijohn (8/3/2011 11:33:41 Am): who?
flyboijohn (8/3/2011 11:33:42 AM): how old
flyboijohn (8/3/2011 11:33:44 AM): pics?
undercoverid (8/3/2011 11:34:51 AM): met him last nite.. friend of a guy at work..
14
flyboijohn (8/3/2011 11:35:00 Am): 14?
flyboijohn (8/3/2011 11:35:01 Am): seriously
flyboijohn (8/3/2011 11:35:07 AM): how do you know he'1l1] bottom?
flyboijohn (8/3/2011 11:35:14 am): does your friend at work fuck him?
flyboijohn (8/3/2011 11:35:18 Am): haha, details! .
undercover id (8/3/2011 11:36:18 AM): he was talkin about it last night.. hes don it
efore...
undercoverid (8/3/2011 11:37:29 AM): u goin back to europe then?
flyboijohn (8/3/2011 11:38:27 AM): no driving to San Francisco
flyboijohn (8/3/2011 11:38:36 AM): your friend has fucked him before?
flyboijohn (8/3/2011 11:38:45 AM): or the 14yo was talking about it?
undercoverid (8/3/2011 11:40:14 Am): the 14 yo said hes into it .. probly could have
happened last night if 7 had somwhereto take him
flyboijohn (8/3/2011 11:40:44 AM): HERE!
flyboijohn (8/3/2011 11:40:48 AM): bring him here tonight
flyboijohn (8/3/2011 11:40:54 Am): wha's he look like?
FI boi John (8/3/2011 11:41:13 AM): you saw him at the store? or talked to him
online’
undercoverid (8/3/2011 11:41:52 AM): saw him in store... hung out after work in lot
Flyboijohn (8/3/2011 11:42:07 Am): got his number?
undercoverid (8/3/2011 11:43:02 AM): not yet.. hes hot ... like a football playr
undercoverid (8/3/2011 11:43:23 AM): i could tell he was into me
Flyboijohn (8/3/2011 11:43:24 am): bigger build football] player?
undercoverid (8/3/2011 11:43:32 AM): no skinny
Flyboijohn (8/3/2011 11:43:41 Am): dude, I will do anythign for his ass
undercoverid (8/3/2011 11:44:48 am): i1] find out later... maybe i can get him to
nang with us tomorrow in the am??
Fiyboijohn (8/3/2011 11:44:59 Am): ok
flyboijohn (8/3/2011 11:45:01 Am): definite ok
flyboijohn (8/3/2011 11:45:05 AM): or late tonight
Flyboijohn (8/3/2011 11:45:20 AM): he said he'd be into a 3sum? getting tag teamed?
flyboijohn (8/3/2011 11:45:28 AM): what did you talk to him about? how did it come
up
undercoverid (8/3/2011 11:46:30 AM): heard he was gay... he said hes messed round
befor... he was hittin on me
Flyboijohn (8/3/2011 11:46:47 AM): you were alone with him?
undercoverid (8/3/2011 11:47:45 am): there was a few people hanging out but 7 talkd
to him on the side... noone else knows.. 7 dont want to screw it up..
flyboijohn (8/3/2011 11:47:59 AM): how tall is he?
undercover id (8/3/2011 11:49:00 AM): like me .. It brown hair.. keep between us
right.. ;
Flyboijohn (8/3/2011 11:49:14 Am): who would I tell? haha
Flyboijohn (8/3/2011 11:49:22 AM): but fuck I want to fuck him with you man
undercoverid (8/3/2011 11:49:55 AM): 711 work on it jol... yur place free tomorrow
then
flyboijohn (8/3/2011 11:50:25 AM): sure
flyboijohn (8/3/2011 11:50:27 AM): I will make sure
flyboijohn (8/3/2011 11:50:29 AM): and tongiht too
flyboijohn (8/3/2011 11:50:30 Am): lol
flyboijohn (8/3/2011 11:50:40 Am): and air conditioned lol
undercoverid (8/3/2011 11:50:54 AM): its goon b hot! !!!ihitrtiiel

Page 1
Case 1:11-mj-01084-JJM Document 1 Filed 08/04/11 Page 10 of 10

uC 1616 chat log.txt

flyboijohn (8/3/2011 11:51:15 AM): it will be if it works
flyboijohn (8/3/2011 11:51:44 Am): what was he wearing?

undercoverid (8/3/2011 11:53:16 Am): hes said hes stayin with his mom.. so maybe
ican get him out in the mrning easier.. ur still at same place right... i dont know
if it still in gps
flyboijohn (8/3/2011 11:54:55 AM): no new place... call me and I'll give you the
directions whe you're ready to come over

undercoverid (8/3/2011 11:55:24 AM): can u still hook me up with the vids too...
flyboijohn (8/3/2011 11:55:33 AM): if you bring him over, yes

flyboijohn (8/3/2011 11:55:35 Am):

undercoverid (8/3/2011 11:56:25 AM): i'17 work it tonite... iJ] talk him onto it...
il] text u vatr on...

flyboijohn (8/3/2011 11:56:39 AM): he look smooth?

flyboijohn (8/3/2011 11:56:45 Am): what was he wearing?

undercoverid (8/3/2011 11:57:26 AM): CLEAN... like skater wear

flyboijohn (8/3/2011 11:57:39 AM): so fucking hot

flyboijohn (8/3/2011 11:57:50 AM): Iw ant to eat his ass!

Flyboi john (8/3/2011 11:57:57 AM): haha you wanna fuck him before or after I load
im?

undercoverid (8/3/2011 11:58:51 AM): see how it goes... its been a while for me...
might not last to long lol

flyboijohn (8/3/2011 11:59:00 AM): then you first

flyboijohn (8/3/2011 11:59:06 AM): you know I love to fuck a cum filled hole
undercoverid (8/3/2011 11:59:44 AM): let me work it... 711 get u later on
Flyboijohn (8/3/2011 11:59:53 AM): how can you find him?
undercoverid (8/3/2011 12:03:08 PM): he said hangs out at the park down on losson...
so jim goin there latr.. im gonna tell him were hanging out at ur place to watch vids
and stuff..
Flyboijohn (8/3/2011 12:03:32 PM): porn vids?

undercoverid (8/3/2011 12:04:19 PM): yeah to get him in the mood..1lol
flyboijohn (8/3/2011 12:05:55 PM): hot
undercoverid (8/3/2011 12:07:30 PM): im out.. gotta go shoppin... il] text u later
please keep between me and u..
flyboijohn (8/3/2011 12:08:16 PM): I would never tell anyone man. I promise. I'm def
lookin forward to this!

Page 2
